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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT off CALIFORNIA }

January 2019 Grand Jury

UNITED STATES OF AMERICA, Case no, 9GR4082H

 

Plaintiff, TupIcTNent
Vv. TitTe 8, U.S.C., Sec. sao tae -
Attempted Unlawful Entry by an
MIGUEL ABASOLO-GARCIA, Alien (Felony); Title 8, U.S.C.,
Sec. 1326(a) and (b) - Attempted
Defendant. Reentry of Removed Alien

 

 

The grand jury charges:
Count 1

On or about August 18, 2019, within the Southern District of
California, defendant MIGUEL ABASOLO-GARCIA, an alien, knowingly and
intentionally attempted to enter the United States of America with the
purpose, i.é., conscious desire, to enter the United States at a time
and place other than as designated by immigration officers, and committed
an overt act, \to wit, crossing the border from Mexico into the United
States, that was a substantial step towards committing the offense,
having previously committed the offense of illegal entry, as evidenced
by his conviction for violation of Title 8, United States Code,
Section 1325; all in violation of Title 8, United States Code, Section

1325(a) (1), a felony.

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Count 2

On or about August 18, 2019, within the Southern District of
California, defendant MIGUEL ABASOLO-GARCIA, an alien, knowingly and
intentionally attempted to enter the United States of America with the
purpose, 1i.¢€., conscious desire, to enter the United States without the
express consent of the Attorney General of the United States and his/her
designated successor, the Secretary of the Department of Homeland
Security, after having been previously excluded, deported and removed
trom the United States, and not having obtained said express consent to
reapply for admission thereto; and committed an overt act to wit,
crossing the border into the United States, that was a substantial step
toward committing the offense, all in violation of Title 8, United States
Code, Section 1326(a) and (b).

It is further alleged that defendant MIGUEL ABASOLO-GARCIA was
removed from the United States subsequent to May 9, 2012.

DATED: October 9, 2019.

A TRUE BILL:

    

Fofeperson

ROBERT S. BREWER, UR.
United States Attorney

KEVIN L. SPENCER
Special Asst. U.S. Attorney

 

 
